          Case: 1:19-cv-08473 Document #: 14 Filed: 04/20/20 Page 1 of 3 PageID #:86



1                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
2
      SYMBOLOGY INNOVATIONS LLC,
3
                                                       Civil Action No.: 1:19-cv-08473-MFK
4            Plaintiff,

5                            v.                        TRIAL BY JURY DEMANDED
6
      PEAPOD, LLC,
7
             Defendant.
8

9
                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
10
            Now comes Plaintiff, Symbology Innovations LLC, by and through the undersigned
11
     counsel, and hereby voluntarily dismisses all of the claims asserted against Defendant Peapod,
12

13   LLC in the within action with prejudice. This notice of dismissal pursuant to Fed. R. Civ. P.

14   41(a)(1) is proper inasmuch as the Defendant has neither answered nor moved for summary
15
     judgment.
16
     Dated: April 20, 2020               Respectfully submitted,
17
                                                RABICOFF LAW LLC
18

19                                              /s/ Isaac Rabicoff
                                                Isaac Rabicoff
20                                              73 West Monroe Street
                                                Chicago, IL 60603
21
                                                (773) 669-4590
22                                              isaac@rabilaw.com

23                                              ATTORNEY FOR PLAINTIFF
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     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE - 1
         Case: 1:19-cv-08473 Document #: 14 Filed: 04/20/20 Page 2 of 3 PageID #:87



1                                   CERTIFICATE OF SERVICE
2
             I hereby certify that on April 20, 2020, I electronically filed the above documents with
3     the Clerk of Court using CM/ECF which will send electronic notification of such filings to all
4     registered counsel.
5
                                                 RABICOFF LAW LLC
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7
                                                 /s/ Isaac Rabicoff
                                                 Isaac Rabicoff
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     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE - 2
         Case: 1:19-cv-08473 Document #: 14 Filed: 04/20/20 Page 3 of 3 PageID #:88



1
                        SO ORDERED this ______ day of _______________, ______.
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                                           _____________________________________
4                                          UNITED STATES DISTRICT JUDGE
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     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE - 3
